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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF GEORGIA
                       SAVANNAH DIVISION

GLOBE LIFE AND ACCIDENT           )
INSURANCE COMPANY,1               )
                                  )
           Stakeholder-Plaintiff, )
                                  )
v.                                )                           CV419-158
                                  )
PHILLIP CHISHOLM and              )
CHESTER JENKINS,                  )
                                  )
           Defendants.            )

                                       ORDER

      Pursuant to Federal Rule of Civil Procedure 26(f), the parties are to

confer “as soon as practical” and submit to the Court a proposed discovery

plan. Fed. R. Civ. P. 26(f). No report has yet been filed. The parties are

DIRECTED to confer and submit their rule 26(f) within fourteen days of

this Order. The Clerk of Court is DIRECTED to include with this Order




1
 The stakeholder was terminated by Judge Moore’s Order, entered December 1, 2020. Doc. 24.
The Clerk shall not serve any further papers upon the terminated party.
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a copy of the General Order pertaining to Rule 26(f) issued in cases

assigned to Judge Moore.

     SO ORDERED, this 11th day of January, 2021.



                                 _______________________________
                                 _____________
                                            _ ______
                                                  _________
                                                         ___________
                                 CHRISTOPHER
                                  CHHRISTTOPO HER L. RAY    Y
                                 UNITED STATES   T S MAGISTRATE
                                             STATE       MAGIISTR    JUDGE
                                 SOUTHERN DISTRICT OF GEORGIA
